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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                           No. 15-875V
                                     Filed: November 9, 2018
                                        Not for Publication

*************************************
SHERYL STROM,                                *
                                             *
               Petitioner,                   *
                                             *      Reasonable attorneys’ fees and costs;
 v.                                          *      Shoulder injury; Settlement.
                                             *
SECRETARY OF HEALTH                          *
AND HUMAN SERVICES,                          *
                                             *
               Respondent.                   *
                                             *
*************************************
Maximillian J. Muller, Dresher, PA, for petitioner.
Glenn A. MacLeod, Washington, DC, for respondent.

MILLMAN, Special Master

                 DECISION AWARDING ATTORNEYS’ FEES AND COSTS1

       On August 13, 2015, Sheryl Strom (“petitioner”) filed a petition under the National
Childhood Vaccine Injury Act, 42 U.S.C. §§ 300aa-10–34 (2012), alleging that she suffered
multiple left shoulder injuries as a result of her October 17, 2014 receipt of the influenza (“flu”)
vaccine. Pet. at 1.

        On August 2, 2018, the parties filed a stipulation in which they agreed to settle this case
and described the settlement terms. Respondent denies that the flu vaccine caused or
significantly aggravated petitioner’s alleged injury or any other injury. Nonetheless, the parties
agreed to resolve this matter informally. On the same day, the undersigned issued a decision
awarding compensation in the amount and on the terms set forth in the stipulation. Judgment

1
  The undersigned intends to post this decision on the United States Court of Federal Claims' website.
This means the ruling will be available to anyone with access to the Internet. In accordance with
Vaccine Rule 18(b), petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, the
undersigned agrees that the identified material fits within this definition, the undersigned will redact such
material from public access. Because this unpublished ruling contains a reasoned explanation for the
action in this case, undersigned is required to post it on the United States Court of Federal Claims' website
in accordance with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management
and Promotion of Electronic Government Services).
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entered on August 3, 2018.

        On September 11, 2018, petitioner filed a motion for attorneys’ fees and costs (“Fees
App.”), requesting attorneys’ fees of $32,255.10 and attorneys’ costs of $4,956.42, for a total
request of $37,211.52. Fees App. at 2. Pursuant to General Order No. 9, petitioner has
indicated that she has not personally incurred any costs in pursuit of this litigation. Id.
Respondent responded to the motion on September 25, 2018, indicating that he was “satisfied
that the statutory requirements for an award of attorneys’ fees and costs are met in this case” and
asking the undersigned to “exercise her discretion and determine a reasonable award for
attorneys’ fees and costs.” Response at 2-3. Petitioner did not file a reply thereafter. The
matter is now ripe for disposition.

        The Vaccine Act permits an award of “reasonable attorneys’ fees” and “other costs.”
42 U.S.C. § 300aa-15(e)(1). The special master has “wide discretion in determining the
reasonableness” of attorneys’ fees and costs. Perreira v. Sec’y of HHS, 27 Fed. Cl. 29, 34
(1992), aff’d, 33 F.3d 1375 (Fed. Cir. 1994); see also Saxton ex rel. Saxton v. Sec’y of HHS, 3
F.3d 1517, 1519 (Fed. Cir. 1993) (“Vaccine program special masters are also entitled to use their
prior experience in reviewing fee applications.”).

       Special masters have previously reduced the fees paid to petitioners due to excessive and
duplicative billing. See Ericzon v. Sec’y of HHS, No. 10-103V, 2016 WL 447770 (Fed. Cl.
Spec. Mstr. Jan. 15, 2016) (reduced overall fee award by 10 percent due to excessive and
duplicative billing); Raymo v. Sec’y of HHS, No. 11-654V, 2016 WL 7212323 (Fed. Cl. Spec.
Mstr. Nov. 2, 2016) (reduced overall fee award by 20 percent), mot. for rev. denied, 129 Fed. Cl.
691 (2016). Additionally, it is firmly established that billing for clerical and other secretarial
work is not permitted in the Vaccine Program. Rochester v. United States, 18 Cl.Ct. 379, 387
(1989) (denied an award of fees for time billed by a secretary and found that “[these] services ...
should be considered as normal overhead office costs included within the attorneys’ fees rates”);
Mostovoy v. Sec’y of HHS, 2016 WL 720969, at *5 (Fed. Cl. Spec. Mstr. Feb. 4, 2016).

        Based on her experience and review of the billing records submitted by petitioner, the
undersigned finds petitioner’s requested fees rates to be acceptable and in conformance to what
other special masters have awarded Muller Brazil, LLP attorneys and paralegals. Additionally,
the undersigned finds that the hours billed by petitioner’s counsel, Mr. Maximillian Muller, to be
reasonable – Mr. Muller has provided detailed billing entries explaining the nature of his work
on the case, and all of the time billed for that work appears reasonable.

        The time billed by the paralegals who worked on this case, however, requires some
adjustment. The greatest cause for concern with the billed paralegal hours is that the paralegals
appear to consider 0.2 hours to be the minimum amount of time to complete any task, no matter
how mundane. For example, for the task of filing documents via CMECF, paralegals billed a
minimum of 0.2 hours (and sometimes more) for a task which, in the undersigned’s experience,
is typically billed for 0.1 hours, if at all. See generally Fees App. at 4-11. Paralegals also
billed a minimum of 0.2 hours for all preparation of filings, no matter how routine, and for all
                                                    2
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communication both telephonic and e-mail, irrespective of the recipient and subject. Id. In the
undersigned’s experience, it is extremely unlikely that all communication done by paralegals in
this case lasted a minimum of twelve minutes in each instance.

       It is well-established that billing 0.2 hours as the minimum amount of time for a task is
not permissible in the Vaccine Program. See McMurty v. Sec’y of HHS, No. 15-405V, 2018 WL
5276700, at *3 (Fed. Cl. Spec. Mstr. Sept. 26, 2018) (finding 0.2 hours to be an unreasonable
minimum billing time); Yang v. Sec’y of HHS, No. 10-33V, 2013 WL 4875120, at *5 (Fed. Cl.
Spec. Mstr. Aug. 22, 2013). Most troubling with this practice, beyond creating obvious
instances of excessive billing as is the case when billing 0.2 hours to file a document on
CMECF, is the fact that it calls into question the legitimacy of all of the billing entries for
paralegals – the undersigned is unable to truly determine how long the paralegals spent replying
to e-mails or drafting medical records requests.

        The paralegals also billed 0.2 hours or more multiple times for preparing exhibits for
filing. These entries have two problems. First, they are vague because they do not allow the
undersigned to ascertain the nature of the work being performed. Second, to the extent that
preparing exhibits for filing involves scanning them to create PDF documents, this task is
administrative/clerical in nature and thus non-compensable in the Vaccine Program. Dempsey v.
Sec’y of HHS, No. 04-394V, 2017 WL 6343870, at *6 (Fed. Cl. Spec. Mstr. Nov. 16, 2017).

        It is for all these reasons that the undersigned will reduce the number of paralegal hours
billed by 30%. Petitioner’s fees application indicates that the total amount billed by paralegals
in this matter is $3,422.00. Fees App. at 1. Accordingly, petitioner’s award of attorneys’ fees
is reduced by $1,026.60.

        Turning next to costs, the undersigned finds that additional reductions must be made.
Petitioner has failed to provide adequate documentation for two requests for medical records, one
listed as “Records – Healthport re: Swedish Medical Center” for $38.06, and the other listed as
“Records – Kaiser Permanente” for $119.16. Fees App. at 13. It is well established that when
petitioners fail to carry their burden, such as by not providing appropriate documentation to
substantiate a requested cost, special masters have refrained from awarding compensation. See
Emerson v. Sec’y of HHS, No. 15-42V, 2018 WL 3433317, at *3 (Fed. Cl. Spec. Mstr. May 30,
2018); Gardner-Cook v. Sec’y of HHS, No. 99-480V, 2005 WL 6122520, at *4 (Fed. Cl. Spec.
Mstr. June 30, 2005). Accordingly, $157.22 shall be deducted from the award of attorneys’
costs. The undersigned finds the remainder of the costs reasonable, and petitioner has provided
adequate documentation for these costs. They will therefore be awarded in full.

        Accordingly, the undersigned GRANTS petitioner’s application for attorneys’ fees and
costs. The court awards $36,027.70 (representing attorneys’ fees in the amount of $31,228.50
and costs of $4,799.20) in the form of a check made payable jointly to petitioner and Muller
Brazil, LLP.


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       In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court is directed to enter judgment herewith.2

IT IS SO ORDERED.


Dated: November 9, 2018                                                  /s/ Laura D. Millman
                                                                         Laura D. Millman
                                                                        Special Master




2
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each party, either separately or
jointly, filing a notice renouncing the right to seek review.
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